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                         EXHIBIT E
           Case 1:20-cv-00840-BKS-CFH Document 63-5 Filed 09/04/20 Page 2 of 4



Mason, Dawn

From:                             Mason, Dawn
Sent:                             Wednesday, September 4, 2019 2:48 PM
To:                               Napoli, Margaret
Subject:                                        dent -        onverting Religious to Medical Exemption
Attachments:                                     Medical Exemption 8.29.19.pdf


A request for medical exemption

Vawn

From: long, Anne Marie <along2@3villagecsd.k12.ny.us>
Sent: Tuesday, September 3, 2019 3:08 PM
To: Sussman, Howard <hsussman@3villagecsd.k12.ny.us>
Cc: Mason, Dawn <dmas. .ecsd.k12.ny.us>
Subject: Gelinas Student         converting Religious to Medical Exemption

Hello Howard -

Please see attached.

Thank you
Anne Marie
This message is a Three Village Central School District Internal Email.




                                                           1
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NEW 'f'ORK STAT£ DEPARTMENT OF HEALTH
                                                                 Immunization Requirements for School Attendance
Bureau oflmmunlzat!on/1){'11.sfon of Epidemiology                 Medical Exemption Statement for Children 0-18 Years of Age

NOTE:TiflS EXEMPTION FORM APPUES ONLY TO IMMUNJZATJONS REQUIRED FORSCHODLAMNDANCE




                                                                                                         ff)
l'llsttuctloim
  1. Complete information (name, DOB etc.t.
  2. Indicate which vacdne(s) the medical exemption is referring to.
  3. Complete <ontrafndlcatfon/precaution information.
  4. Complete date exemption ends, if applicable.
  5. Complete medical provider information. Retain copy for fil.t. Return original to facility or person requesting fonn.


  1. Patient's Name



  3. Patient'sAc!dress - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
  4. NameofEducational?nstitution - - -- - - - - - -- - -- -- - - - - - -- -- - - - -


Guidance for medical exemptions for vaccination can be obtained from the contrafndications, indications. and p~cautions described in the vacdne
manufactums' package insert and by the most recent r.~commendations of the Advisory Committee on Immunization Practices IAOJ>I available
In the Centers for Disease Control and Prevention publication, Gulde to Vacdne Contraindications and Prec.iutfons. This guid~can be found at the
following website: http://www.cdc.gov/vacdnu/recs/vac•admln/contratndkat1ons,btm.                                   -
  Please indicate which vacdne(s) the medical exemption is ref~rring to:
      0 Haemophilus Influenzae type b (Hib)                          D Measle$. Mumps, and Rubtlla (MMR)
      0 Polio (IPVor OPV)                                            D Varlcella (Chickenpox)
      D Hepatitis B(Hep B)                                           D Pneumococcat Conjugate Vaccine (PCV)
      0 Tetutus. Olphtherfa. Pertussis (DTaP. OT                                     ~tv




                                                complete   · medical exemption statement and provide their information below:
Name (print)                                        •        t,({)                                  NYS MedicalUcense #     /519'39'

                         : Medical Exemptfon Stitus D Accepted          D Not Accepted Date: _ _ __ _ _ _ _ __ _ __
OOH,5077 {l/13)
               Case 1:20-cv-00840-BKS-CFH Document 63-5 Filed 09/04/20 Page 4 of 4

 Ox Letter                                                                                                                           817/19, 12:22 PM


                                                                                                                  Nancy H. O'Hara & Associates, LLC
                                                                                                                                   3 Hollyhock lane
                                                                                                                             Wilton, CT 06897-4443
                                                                                                                                 Tel: (203) 834-2813
                                                                                                                                Fax: (203) 834-2590

             www..drohara.com




                                                 RE:

                                    RE:




  Tel-
  Fax-

 FROM: - Nancy O'Hara
 Number of Pages: 1

- -s a patient.of mine with-chronic and severe Lyme, Bartonella and autoimmune encephalitis. h. a result. she also has
~ n mla, all of which increase symptoms of anxiety, cognitive and processing delays. 51:Je has been on antlblol!os and multiple
Interventions to treat the above. Any further virus or other insults can exacerbate her autoimmune disease and symptoms. Please contact our
office with quesitons.


MESSAGE:




                                                       -· ---- ... ._               ~----....- .-- . - - _,_. .




hltps:IJneclh.md-hq.com/documenl/?src-9d8jtVJrXYvvZEIN"2Fx94MU"'2BgR4SozPtc:rGQCZWBilAa"30                                               Page-1 of 2
